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                APPENDIX C – STATUTORY & COMMON LAW HARMONIZATION

 State              Statutory Harmonization Provision                  Common Law Harmonization Recognition
Alabama                                                             Vandenberg v. Aramark Edu. Servs., Inc., 81 So. 3d
                                                                    326, 334 (Ala. 2011) (applying federal law to
                                                                    monopolization claims under Alabama Antitrust
                                                                    Act); Clark Mem’ls of Ala. Inc. v. SCI Ala. Funeral
                                                                    Servs., LLC, 991 F. Supp. 2d 1151, 1168 (N.D. Ala.
                                                                    2014) (“The state and federal antitrust inquiries are
                                                                    essentially identical.”).
 Arizona        Ariz. Rev. Stat. Ann. § 44-1412 (“It is the         Grimmelmann v. Pulte Home Corp., No. CV-08-
                intent of the legislature that in construing this   1878, 2009 WL 1211771, at *3 (D. Ariz. May 1,
                article, the courts may use as a guide              2009) (“We construe [§ 44-1412] as we would the
                interpretations given by the federal courts to      Sherman Act.”).
                comparable federal antitrust statutes.”).
California                                                          Mailand v. Burckle, 572 P.2d 1142, 1147 (Cal.
                                                                    1978) (“Since the Cartwright Act is patterned after
                                                                    the Sherman Act (15 U.S.C. § 1 et seq.), federal
                                                                    cases interpreting the Sherman Act are applicable
                                                                    in construing our state laws.”); Tucker v. Apple
                                                                    Comput., Inc., 493 F. Supp. 2d 1090, 1102 (N.D.
                                                                    Cal. 2006) (“[C]ases construing the federal antitrust
                                                                    laws are permissive authority in interpreting the
                                                                    Cartwright Act.”).
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  State              Statutory Harmonization Provision                 Common Law Harmonization Recognition
 Colorado                                                          USI Ins. Servs., LLC v. Morris, No. 22-cv-3180,
                                                                   2024 WL 1436316, at *6 (D. Colo. Feb. 21, 2024)
                                                                   (“[The Colorado Antitrust] Act ‘is the state law
                                                                   analogue to the Sherman Act,’” and “[because]
                                                                   federal antitrust law principles apply to both . . .
                                                                   federal and state antitrust claims[.]”) (third and
                                                                   fourth alteration in original) (quoting Arapahoe
                                                                   Surgery Ctr., LLC v. Cigna Healthcare, Inc., 80 F.
                                                                   Supp. 3d 1257, 1262-63 (D. Colo. 2015)), report
                                                                   and recommendation adopted as modified by, No.
                                                                   22-cv-03180, 2024 WL 3085960 (D. Colo. Mar.
                                                                   26, 2024).
Connecticut      Conn. Gen. Stat. Ann. § 35-44b (“[T]he            Westport Taxi Serv., Inc. v. Westport Transit Dis.,
                 courts of this state shall be guided by           664 A.2d 719, 728 (Conn. 1995) (In accordance
                 interpretations given by the federal courts to    with § 35-44b, Connecticut courts “follow federal
                 federal antitrust statutes.”).                    precedent when we interpret the [Antitrust Act]
                                                                   unless the text of our antitrust statutes, or other
                                                                   pertinent state law, requires us to interpret it
                                                                   differently.”).
District of      D.C. Code Ann. § 28-4515 (“[I]n construing        Peterson v. Visa U.S.A., Inc., No. Civ.A. 03-8080,
Columbia         this chapter, a court of competent jurisdiction   2005 WL 1403761, at *4 (D.C. Super. Ct. Apr. 22,
                 may use as a guide interpretations given by       2005) (recognizing “express authorization in § 28-
                 federal courts to comparable antitrust            4515 to look to federal precedent”).
                 statutes.”).
  Hawaii         Haw. Rev. Stat. § 480-3 (“This chapter shall      Goran Pleho, LLC v. Lacy, 439 P.3d 176, 198, 198
                 be construed in accordance with judicial          n.11 (Haw. 2019) (recognizing the statutory
                 interpretations of similar federal antitrust      mandate to consider federal antitrust law).
                 statutes . . . .”).




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 State               Statutory Harmonization Provision                Common Law Harmonization Recognition
Illinois        740 Ill. Comp. Stat. 10/11 (“When the             Laughlin v. Evanston Hosp., 550 N.E.2d 986, 990
                wording of this Act is identical or similar to    (Ill. 1990) (acknowledging harmonization
                that of a federal antitrust law, the courts of    requirements of 740 Ill. Comp. Stat. 10/11).
                this State shall use the construction of the
                federal law by the federal courts as a guide in
                construing this Act.”).
 Iowa           Iowa Code § 553.2 (“This chapter shall be         Mueller v. Wellmark, Inc., 861 N.W.2d 563, 567
                construed to complement and be harmonized         (Iowa 2015) (“[W]hen interpreting the Iowa
                with the applied laws of the United States        Competition Law, we have generally adhered to
                which have the same or similar purpose as         federal interpretations of federal antitrust law.”).
                this chapter.”).
Kansas          Kan. Stat. Ann. § 50-163(b) (“Except as           O’Brien v. Leegin Creative Leather Prods., Inc.,
                otherwise provided in subsections (d) and (e),    277 P.3d 1062, 1087 (Kan. 2012) (construing
                the Kansas restraint of trade act shall be        Kansas Restraint of Trade Act in view of Sherman
                construed in harmony with ruling judicial         Act precedent); Smith v. Philip Morris Cos., 335
                interpretations of federal antitrust law by the   P.3d 644, 652 (Kan. Ct. App. 2014) (recognizing
                United States supreme court.”).                   harmonization provision in § 50-163).
Maine                                                             McKinnon v. Honeywell Int’l, Inc., 977 A.2d 420,
                                                                  426 (Me. 2009) (referencing “[f]ederal antitrust
                                                                  law, to which Maine looks to construe its antitrust
                                                                  statute”); Davric Me. Corp. v. Rancourt, 216 F.3d
                                                                  143, 149 (1st Cir. 2000) (“We have noted that the
                                                                  ‘Maine antitrust statutes parallel the Sherman Act,’
                                                                  and thus have analyzed claims thereunder
                                                                  according to the doctrines developed in relation to
                                                                  federal law.” (citation omitted)).




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 State               Statutory Harmonization Provision                Common Law Harmonization Recognition
Maryland        Md. Code Ann., Com. Law § 11-202(a)(2)             Loren Data Corp. v. GXS, Inc., No. DKC 10-3474,
                (“It is the intent of the General Assembly that,   2011 WL 3511003, at *12 (D. Md. Aug. 9, 2011)
                in construing this subtitle, the courts be         (“When an antitrust claim fails under federal law,
                guided by the interpretation given by the          that claim will also fail under the analogous
                federal courts to the various federal statutes     Maryland state antitrust law.”), aff’d in part by, 501
                dealing with the same or similar                   F. App’x 275 (4th Cir. 2012).
                matters . . . .”).
Michigan        Mich. Comp. Laws Ann. § 445.784(2) (“It is         Innovation Ventures v. Liquid Mfg., 885 N.W.2d
                the intent of the legislature that in construing   861, 874 (Mich. 2016) (“MCL 445.784(2) instructs
                all sections of this act, the courts shall give    courts to look to federal interpretation of
                due deference to interpretations given by the      comparable statutes . . . .”).
                federal courts to comparable antitrust
                statutes . . . .”).
Minnesota                                                          Lorix v. Crompton Corp., 736 N.W. 2d 619, 626
                                                                   (Minn. 2007) (“Minnesota antitrust law is generally
                                                                   interpreted consistently with federal antitrust law.
                                                                   As the purposes of Minnesota and federal antitrust
                                                                   law are the same, it is sensible to interpret them
                                                                   consistently.” (citation omitted)).
Mississippi                                                        Harrah’s Vicksburg Corp. v. Pennebaker, 812 So.
                                                                   2d 163, 171-74 (Miss. 2001) (relying on federal
                                                                   law in adjudicating claim under state antitrust
                                                                   statute).
Nebraska        Neb. Rev. Stat. Ann. § 59-829 (where the           Salem Grain Co. v. Consol. Grain & Barge Co.,
                Nebraska Act’s language is “the same as or         900 N.W. 2d 909, 922 (Neb. 2017) (outlining
                similar to the language of a federal antitrust     statutory harmonization requirement); Kanne v.
                law, the courts of this state in construing such   Visa U.S.A. Inc., 723 N.W.2d 293, 297 (Neb. 2006)
                sections or chapter shall follow the               (acknowledging that Neb. Rev. Stat. Ann. § 59-829
                construction given to the federal law by the       requires adherence to applicable federal antitrust
                federal courts”).                                  precedent).



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    State             Statutory Harmonization Provision                Common Law Harmonization Recognition
   Nevada        Nev. Rev. Stat. Ann. § 598A.050 (“The             Nev. Recycling & Salvage, Ltd. v. Reno Disposal
                 provisions of this chapter shall be construed     Co., 423 P.3d 605, 607 (Nev. 2018) (relying on
                 in harmony with prevailing judicial               Nev. Rev. Stat. Ann. § 598A.050 as authority to
                 interpretations of the federal antitrust          analyze federal case law in deciding questions of
                 statutes.”)                                       Nevada antitrust law).
New Hampshire    N.H. Rev. Stat. Ann. § 356:14 (“In any action     Minuteman, LLC v. Microsoft Corp., 795 A.2d 833,
                 or prosecution under this chapter, the courts     839 (N.H. 2002) (“By enacting the permissive
                 may be guided by interpretations of the           federal harmonization provision of RSA 356:14, we
                 United States’ antitrust laws.”).                 interpret the legislature’s intent as encouraging
                                                                   courts to consider future interpretations of federal
                                                                   antitrust law as well as those existing at the time of
                                                                   enactment of the statute.”).
 New Jersey      N.J. Stat. Ann. § 56:9-18 (“This act shall be     State v. Lawn King, Inc., 417 A.2d 1025, 1032-33
                 construed in harmony with ruling judicial         (N.J. 1980) (relying on “persuasive” interpretations
                 interpretations of comparable Federal antitrust of federal antitrust laws); Glasofer Motors v.
                 statutes . . . .”).                               Osterlund, Inc., 433 A.2d 780, 787 (N.J. Super. Ct.
                                                                   App. Div. 1981) (New Jersey’s statute is “to be
                                                                   construed in harmony with ruling judicial
                                                                   interpretations of federal antitrust statutes.”).
 New Mexico      N.M. Stat. Ann. § 57-1-15 (“[T]he Antitrust       Romero v. Philip Morris Inc., 242 P.3d 280, 291
                 Act shall be construed in harmony with            (N.M. 2010) (acknowledging that N.M. Stat. Ann.
                 judicial interpretations of the federal antitrust § 57-1-15 requires harmonization with federal
                 laws.”).                                          antitrust law and stating that “[i]t is therefore the
                                                                   duty of courts to ensure that New Mexico antitrust
                                                                   law does not deviate substantially from federal
                                                                   interpretations of antitrust law”).




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    State          Statutory Harmonization Provision          Common Law Harmonization Recognition
  New York                                                People v. Rattenni, 613 N.E.2d 155, 158 (N.Y.
                                                          1993) (“The Donnelly Act was modelled on the
                                                          Federal Sherman Act of 1890, and thus we have
                                                          observed that State antitrust law ‘should generally
                                                          be construed in light of Federal precedent . . . .’”
                                                          (citation omitted)); In re Namenda Indirect
                                                          Purchaser Antitrust Litig., 338 F.R.D. 527, 572
                                                          (S.D.N.Y. 2021) (“[C]ourts have interpreted [New
                                                          York’s] statute to ‘require identical basic elements
                                                          of proof’ as the Sherman Act.”).
North Carolina                                            Madison Cablevision, Inc. v. City of Morganton,
                                                          386 S.E.2d 200, 213 (N.C. 1989) (noting that case
                                                          law applying the Sherman Act is “instructive in
                                                          determining the full reach of [the North Carolina
                                                          antitrust] statute” (citation omitted)); Crain v.
                                                          DeBartolo, No. 7:14-CV-29-D, 2015 WL 73961, at
                                                          *8 n.3 (E.D.N.C. Jan. 6, 2015) (“Federal case law
                                                          interpretations of the federal antitrust laws are
                                                          persuasive authority in construing North Carolina
                                                          antitrust statutes.” (citation omitted)).
North Dakota                                              Ag Acceptance Corp. v. Glinz, 684 N.W.2d 632,
                                                          639 (N.D. 2004) (relying on federal law to interpret
                                                          North Dakota antitrust statute).




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   State             Statutory Harmonization Provision                Common Law Harmonization Recognition
  Oregon        Or. Rev. Stat. Ann. § 646.715(2) (“The            Nw. Med. Lab’ys., Inc. v. Blue Cross & Blue Shield
                decisions of federal courts in construction of    of Or., Inc., 794 P.2d 428, 433 (Or. 1990)
                federal law relating to the same subject shall    (acknowledging that Or. Rev. Stat. § 646.715(2)
                be persuasive authority in the construction of    requires Oregon courts to review federal case law
                [the Oregon antitrust laws].”).                   when interpreting Oregon antitrust laws); Or.
                                                                  Laborers-Emps. Health & Welfare Tr. Fund v.
                                                                  Philip Morris Inc., 185 F.3d 957, 963 n.4 (9th Cir.
                                                                  1999) (“Oregon courts look to federal antitrust
                                                                  decisions for ‘persuasive’ guidance in interpreting
                                                                  the state antitrust laws.” (citation omitted)).
Rhode Island    6 R.I. Gen Laws § 6-36-2(b) (“This chapter        ERI Max Ent. v. Streisand, 690 A.2d 1351, 1353
                shall be construed in harmony with judicial       n.1 (R.I. 1997) (“[F]ederal cases interpreting
                interpretations of comparable federal antitrust parallel federal provisions are appropriately
                statutes insofar as practicable . . . .”).        consulted in interpreting state antitrust laws.”);
                                                                  UXB Sand & Gravel, Inc. v. Rosenfeld Concrete
                                                                  Corp., 599 A.2d 1033, 1035 (R.I. 1991) (“The
                                                                  Rhode Island Antitrust Act must be ‘construed in
                                                                  harmony with judicial interpretations of
                                                                  comparable federal antitrust statutes insofar as
                                                                  practicable.’” (quoting R.I. Gen. Laws Ann. § 6-36-
                                                                  2(b) (2024))).
South Dakota    S.D. Codified Laws § 37-1-22 (“It is the          In re S.D. Microsoft Antitrust Litig., 707 N.W.2d
                intent of the Legislature that in construing this 85, 99 (S.D. 2005) (“[B]ecause of the similarity of
                chapter, the courts may use as a guide            language between federal and state antitrust statutes
                interpretations given by the federal or state     and because of the legislative suggestion for
                courts to comparable antitrust statutes.”).       interpretation found in [the state statute], great
                                                                  weight should be given to the federal cases
                                                                  interpreting the federal statute.” (citation omitted)).




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  State           Statutory Harmonization Provision                  Common Law Harmonization Recognition
Tennessee                                                        Rockholt Furniture, Inc. v. Kincaid Furniture Co.,
                                                                 No. 1:96CV00588, 1998 WL 1661384, at *7 (E.D.
                                                                 Tenn. July 6, 1998) (“The State [of Tennessee]
                                                                 anti-trust statute passed in 1891 is quite similar to
                                                                 the Sherman Anti-Trust Act passed by Congress in
                                                                 1890. Authorities which define the character of
                                                                 private damage suits under the federal anti-trust
                                                                 statutes, particularly the Sherman Act, are most
                                                                 persuasive.” (alteration in original) (quoting
                                                                 Tennessee v. Levi Strauss & Co., No. 79-722-III,
                                                                 1980 WL 4696, at *2 n.2 (Tenn. Ch. Ct. Sept. 25,
                                                                 1980))), aff’d, 188 F.3d 509 (6th Cir. 1999); Spahr
                                                                 v. Leegin Creative Leather Prods., Inc., No. 2:07-
                                                                 cv-187, 2008 WL 3914461, at *14 (E.D. Tenn.
                                                                 Aug. 20, 2008) (interpreting Tennessee antitrust
                                                                 law consistently with federal law because
                                                                 “[p]laintiffs have asserted no good reason why the
                                                                 Tennessee courts would not follow the holding of
                                                                 the United States Supreme Court”).
  Utah        Utah Code Ann. § 76-10-3118 (“The                  Evans v. State, 963 P.2d 177, 181 (Utah 1998)
              Legislature intends that the courts, in            (citing and following statutory mandate to look to
              construing this act, will be guided by             federal and state courts for guidance when
              interpretations given by the federal courts to     construing Utah statute).
              comparable federal antitrust statutes and by
              other state courts to comparable state antitrust
              statutes.”).




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   State              Statutory Harmonization Provision                  Common Law Harmonization Recognition
  Vermont        Vt. Stat. Ann. tit. 9, § 2451 (“The purpose of      Green v. Springfield Med. Care Sys., Inc., No.
                 this chapter is to complement the enforcement       5:13-cv-168, 2014 WL 2875850, at *14 n.8 (D. Vt.
                 of federal statutes and decisions governing . . .   June 24, 2014) (“In determining whether an act
                 anti-competitive practices in order to protect      constitutes collusion [under Vermont law], courts
                 the public and to encourage fair and honest         are to be ‘guided by the construction of federal
                 competition.”).                                     antitrust law and the Sherman Act, as amended, as
                                                                     interpreted by the courts of the United States.’”
                 Id. § 2453a(c) (“It is the intent of the General    (quoting Vt. Stat Ann. Tit. 9, § 2453a(c))).
                 Assembly that in construing this section and
                 subsection 2451a(8) of this title, the courts of
                 this State shall be guided by the construction
                 of federal antitrust law and the Sherman Act,
                 as amended, as interpreted by the courts of the
                 United States.”).

                 Id. § 2461c(b) (“It is the intent of the General
                 Assembly that in construing subsection (a) of
                 this section, the courts of the State will be
                 guided by similar terms contained in federal
                 anti-trust law as construed by the courts of the
                 United States and as amended by Congress.”).
West Virginia    W. Va. Code Ann. § 47-18-16 (“This article          St. Mary’s Med. Ctr., Inc. v. Steel of W. Va., Inc.,
                 shall be construed liberally and in harmony         809 S.E.2d 708, 714 (W. Va. 2018) (“Pursuant to
                 with ruling judicial interpretations of             W.Va. Code, 47-18-16 [1978], the Antitrust Act
                 comparable federal antitrust statutes.”).           ‘shall be construed liberally and in harmony with
                                                                     ruling judicial interpretations of comparable federal
                                                                     antitrust statutes.’” (alteration in original));
                                                                     Princeton Ins. Agency, Inc. v. Erie Ins. Co., 690
                                                                     S.E.2d 587, 592 (W. Va. 2009) (“The Legislature
                                                                     has directed that where our state antitrust
                                                                     provisions track the Sherman Act’s provisions,
                                                                     federal decisional law should be followed.”).

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 State           Statutory Harmonization Provision        Common Law Harmonization Recognition
Wisconsin                                              Eichenseer v. Madison-Dane Cnty. Tavern League,
                                                       Inc., 748 N.W.2d 154, 174 (Wis. 2008) (“Federal
                                                       precedents are often instructive and persuasive in
                                                       analyzing Wisconsin antitrust law.”).




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